Case 8:12-cr-00587-AW Document 23-1 Filed 03/25/12_.Page 1 of 1 enteren
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ATTACHMENT A MAR 2 5 2013
STATEMENT OF FACTS: AMECHI ONYEACHOLEM Oe”
AT GREENSELT :
U.S, DISTRICT COURT

The United States and the Defendant agree that if this case pxoceed to trial ihe United
States would prove the following facts below beyond a reasonable doubt. The parties agree hare”
these are not all of the facts that would have been proved if this case proceeded to trial.

AMECHI ONYEACHOLEM (“ONYEACHOLEM”) was born in Nigeria in 1968 and
entered the United States on a tourist visa on February 13, 1997. ONYEACHOLEM applied for
political asylum (Temporary Residence) the following month.

In 1998, ONYEACHOLEM became roommates with a U.S. citizen with the initials L.B.A.
On some date before January 7, 1999, ONYEACHOLEM uscedL.B.A.’s birth certificate and
manufactured a D.C. identification card in L.B.A.’s name that bore ONYEACHOLEM’s picture.
On January 7, 1999, ONYEACHOLEM appeared before a passport specialist at the Washington
Passport Agency, submitted a falsified form DS-11, Application For U.S. Passport, in L.B.A.’s
name, and successfully obtained a U.S. passport.

On February 3, 2006, ONYEACHOLEM’s petitions for resident status were finally denied
and she was ordered deported. On September 10, 2009, ONYEACHOLEM executed and mailed
a completed form DS-82, Application for U.S. Passport By Mail, from Maryland to the Philadelphia
Passport Agency requesting renewal of the earlier passport she had obtained in L.B.A.’s identity. On
the DS-82, ONYEACHOLEM falsely listed L.B.A.’s name, date of birth, and Social Security
Number rather than herown. ONYEACHOLEM thereafter received a reissued passport in L.B.A.’s
identity at her address in Greenbelt, Maryland.

In September, 2010, ONYEACHOLEM departed the United States while traveling on the
L.B.A. passport. ONYEACHOLEM flew from Atlanta, Georgia, to Lagos, Nigeria. On some date
in September, 2012, ONYEACHOLEM returned to the United States, again traveling on the L.B.A.
passport.

I have read this statement of facts, and have carefully reviewed it with my attorney. I
acknowledge that it is true and correct.

“L\"\ \S Der

Date ‘Amechi Onyeacholem- Ss

 

Iam Amechi Onyeacholem’s attorney. I have carefully reviewed the statement of facts with

 

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Date LaKeytria Felder, Esq.
